彙
ヽ




    BRYAN SCHRODER
    Acting United States Attomey

    KELLY CAVANAUGH
    Assistant UoS.Attorney
                    %UoSo Courthouse
    Federal Buildingそ
    222 West Seventh Avenue,#9,Roon1 253
    Anchorage,Alaska 99513‑7567
    Phone:(907)271‑5071
    Fax:(907)271‑1500
    Email:Kelly.cavanaugh(DusdaogOV


                                IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF ALASKA

      UNITED STATES OF AMERICA,                    )No.3:17‑cr‑00027‑SLG―    DNIIS
                                                        )
                                  Plainti範          )
                                                        )PLEA AGREEMENT
              VS。                              )
                                                        )
      WAHYU SANJOYO,力      À̀MIKE," )
                                     ℃
      A/K/A,̀̀KODIAK NIIIKE'',       )
                                                        )
                                  Defendant。        )
                    Unless the parties jointly inform the Court in writing of any
                    additional agreements, this document in its entirety
                    contains the terms of the plea agreement between the
                    defendant and the United States. This agreement is limited
                    to the District of Alaska; it does not bind other federal,
                    state, or local prosecuting authorities.
                          ／ １
                        ／
                      ／




           Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 1 of 17
I.    SUMMARY OF AGREEⅣ IENT,FEDERAL RULE OF CRIMINAL
       PROCEDURE ll,WAIVER OF CLAIM FOR ATTORNEY'S FEE AND
       COSTS

       A.       Summary of Agreement

       The defendant agrees to plead guilty to the following count(s) of the Indictment in

this case. Counts    I   and 6, Possession of Controlled Substances with Intent to Distribute,

in violation of   2l U.S.C. $ 8a1(a)(1)   and (b)(1)(B), and Possession of Firearms in

Furtherance of Drug Trafficking, a violation of 18 U.S.C. $ 92a(c)(1)(A). The defendant

agrees to   forfeit all firearms and money alleged in the forfeiture count of the indictment.

The United States agrees to recommend a sentence within the U.S.S.G. range as

calculated by the U.S. Probation Office. The United States agrees not to prosecute the

defendant further for any other offense related to the event(s) that resulted in the

charge(s) contained in the Indictment. After the Court accepts the plea agreement and

imposes the sentence, the United States agrees to dismiss the remaining counts as they

relate to the defendant: Counts      2,3,4, 5, and7.

       The defendant      will waive all rights to appeal the conviction(s)   and sentence

imposed under this agreement. The defendant         will also waive all rights to collaterally

attack the conviction(s) and sentence, except on the grounds ofineffective assistance        of

counsel or the voluntariness of the plea(s).

       B.       Federal Rule of Criminal Procedure 1l

       Unless the parties otherwise inform the Court in writing, Federal Rule of Criminal

Procedure 11(c)(1)(A) and (B)       will control this plea agreement. Thus, the defendant may


UoS,vo WAHYU SANJOYO
3:17‑cr‑00027‑SLG― DNIIS        Page 2 of 17
        Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 2 of 17
not withdraw from this agreement or the guilty plea(s) if the Court rejects the parties'

sentencing recommendations at the sentencing hearing.

II.    CHARGES, ELEMENTS, FACTUAL BASIS, STATUTORY PENALTIES
       AND OTHER MATTERS AFFECTING SENTENCE

       A.      Charges

               1.      The defendant agrees to plead guilty to the following count(s) of

       the Indictment:

       Count 1: Possession of Controlled Substances with Intent to Distribute, a

violation of Title 21 U.S.C. $ 8a1(a)(1) and (b)(1)(B).

       Count   6:   Possession of Firearms in Furtherance of Drug Trafficking, a violation

of Title 18 U.S.C. $ 92a(c)(1)(A).

       B.      Elements

       The elements of the charge(s) to which the defendant is pleading guilty are as

follows:

       Possession of Controlled Substances with Intent to Distribute

               1.      The defendant possessed 50 grams or more of a mixture and

       substance containing a detectable amount of methamphetamine;

               2.      The defendant possessed it with the intent to distribute it to

       another person.

       Possession of Firearms in Furtherance of Drug Trafficking


               1.      The defendant committed the crime of possession of controlled

       substances with intent to distribute;

U.S. v. WAHYU SANJOYO
3:17-cr-00027-SLG-DMS              Page 3 of 17
           Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 3 of 17
               2.    The defendant knowingly possessed firearmsl

               3.    The defendant possessed the firearms in furtherance of the

       crime of possession of controlled substances with intent to distribute.

       C.      Factual Basis

       The defendant admits the truth of the allegations in Count   I   and 6 of the

Indictment and the truth of the following statement, and the parties stipulate that the

Court may rely upon this statement to support the factual basis for the guilty plea(s) and

for the imposition of the sentence:

       On February 28,2017, the defendant's residence was searched by law

enforcement officers in Kodiak, Alaska. The defendant possessed 50 grams or more of a

mixture and substance containing a detectable amount of methamphetamine inside the

residence. The defendant intended to distribute that methamphetamine to others in

Kodiak. The defendant also possessed cocaine, heroin, digital scales, drug packaging

material, and several drug smoking devices. The defendant admitted that he distributed

methamphetamine and heroin in Kodiak.

       The defendant also possessed 31 firearms on February 28,2017        . The defendant
possessed these firearms in furtherance   of drug trafficking in Kodiak. For example, the

defendant admiued that he had discharged a firearm in order to frighten another Kodiak

drug dealer.




U.S. v. WAHYU SANJOYO
3:17-cr-00027-SLG-DMS           Page 4 of 17
        Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 4 of 17
       D.        Statutory Penalties and Other Matters Affecting Sentence

                          1.     Statutory Penalties

       The maximum statutory penalties applicable to the charges to which the defendant

is pleading guilty, based on the facts to which the defendant    will admit in support of the

guilty plea(s), are as follows:

                 Count 1: Possession with Intent to Distribute

                 1)   Imprisonment: 5 to 40 years;

                 2) Fine: Maximum $5,000,000;

                 3) Supervised Release: 4 years to life;

               4) Special Assessment: $100.

                 Count 6: Possession of Firearms in Furtherance of Drug Trafficking

                 1)   Imprisonment: 5 years to life, consecutive to the term of imprisonment

imposed on Count 1;

               2) Fine: Maximum $250,000;

               3) Supervised Release: 3 years;

               4) Special Assessment: $100.

               2.         Other Matters Affecting Sentence

                                       Conditions affecting the defendant's sentence
                                 ^,
       The following conditions may also apply and affect the defendant's sentence:

1) pursuant   to Comment 7 of U.S.S.G. $ 581.2, the Court may impose an additional fine

to pay the costs to the government of any imprisonment and supervised release term;

2) pursuant to   l8 U.S.C. $ 3612(f), unless otherwise ordered, if the Court imposes   a fine

U.S. v. WAHYU SANJOYO
3:17-cr-00027-SLG-DMS           Page 5 of 17
        Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 5 of 17
of more than $2,500, interest   will   be charged on the balance not paid within 15 days after

the   judgment date; 3) upon violating any condition of supervised release, a further term

of imprisonment equal to the period of the supervised release may be imposed, with no

credit for the time already spent on supervised release; 4) the Court may order the

defendant to pay restitution pursuant to the 18 U.S.C. $ 3663 and U.S.S.G. $ 5E1.1 ; and

if l8 U.S.C. $ 36634 (mandatory        restitution for certain crimes) applies, the Court shall

order the defendant to pay restitution.

                              b.       Payment of Special Assessment

         The defendant agrees to pay the entire special assessment in this case on the day

the Court imposes the sentence.    All   payments   will   be by check or money order, and are

to be delivered to the Clerk of Court, United States District Court, 222 W.7th Ave. Box

4, Rm. 229, Anchorage, AK 99513-7564.

                              c.       Consequences of Felony Conviction

         Any person convicted of a federal felony offense may lose or be denied federal

benefits including any grants, loans, licenses, food stamps, welfare or other forms       of

public assistance, as well as the right to own or possess any firearms, the right to vote, the

right to hold public office, and the right to sit on a jury. If applicable, any defendant who

is not a United States citizen may be subject to deportation from the United States

following conviction for a criminal offense and will not be permitted to return unless the

defendant specifically receives the prior approval of the United States Attomey General.

         E.     Restitution

         There is no restitution contemplated as part of this agreement.

U.S.v.WAHYU SANJOY0
3:17‑cr‑00027¨ SLG― DNIIS         Page 6 of 17
          Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 6 of 17
        F.       Forfeiture

        The defendant admits the forfeiture allegation(s) of the Indictment in their entirety,

including any substitute asset and money judgment provisions, and that the defendant's

interest,   if any, in the following property is subject to forfeiture to the United   States:


        1)       Colt .45 caliber handgun, SN: 2785987;
        2)       Mossberg 560 shotgun, SN: P549407;
        3)       .221.22 mag derringer, SN: 394221;

        4)       Pellet revolver, SN: 158D180F08L49;

        5)       Smith & Wesson 9mm pistol, SN: TFM2413;
        6)       Sig Arms 5P2022,.40 caliber, SN: 248187650;
        7)       Phoenix Arms .22, SN: 4124698;
        8)       Jimenez Arms .380, SN: 338232;

        9)       Ruger Black Hawk .357 Mag, SN: 38-11751;
        10)      Smith   &   Wesson   Air Weight.38 Special, SN: CPR0819;
        11)      Rock Island Armory .45 caliber, SN: RIA1245197;

        12)      Hakam 9mm pistol, SN:      lll3399;
        13)      Walther PK380 .380 caliber, SN: 120953;
        14)      Browning BLR.243 caliber, SN: 03838RT127;
        15)      Sig Arms .40 caliber M2, SN: MC003237;
        16)      Winchester M1 Carbine, SN: 7840096;
        17)      Ruger 10122.22, SN: 82647508;
        18)      Ruger 10122.22, SN:356-48866;
        19)      Windham Weaponry AR15 5.56 mm, SN: WW0|849Z;
        20)      Rock River Arms ARl5, .223 caliber, SN: AT1025706;
        2l)      Ruger 10122.22, SN: 82281494;
        22)      Mossberg Maverick 88 12 gauge s/n MV366535
        23)      Colt Sauer rifle, .300 weatherby magnum, SN: CR-251 17;


U.S.v.WAHYU SANJOY0
3:17‑cr‑00027‑SLG― DⅣ IS             Page 7 of 17
            Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 7 of 17
       24)     Remington 700 .30-06, SN: 46859106;
       25)    Noble model 60f 12 gauge shotgun, no serial number;
       26)     Ruger 10122.22, SN: 129-40097;
       27)     Browning Invector Plus 12 gauge shot gun, SN: F51NV04123;
       28)     Ruger   Mini-l4 .223 caliber, SN: 581-00525;
       29)     Browning Buckmark semi-auto .22 pistol, SN: 655N217735
       30)     SCCY Industries 9mm, SN: 270588;
       3l)     Savage   Axis.30-06, SN: H824560;
       32)     $5,000.00 United States cuffency;
       33)     S936.00 United States curency;

       34)     $199.25 United States currency; and
       35)     S5,000 United States cuffency.



       The defendant agrees not to file a claim or withdraw any claim already filed to any

of the above referenced property in any forfeiture proceeding, administrative or judicial,

which has been or may be initiated by the United States. This agreement does not affect

or limit the government's ability to initiate or complete any administrative or civil

forfeiture action. It does not affect any forfeiture action already completed.

       The defendant further waives the right to notice of any forfeiture proceeding

involving this property, agrees not to assist others in filing a claim to said property in any

forfeiture proceeding, and will take all steps as requested by the United States to pass

clear title to the above referenced property to the United States.




U.S,vo WAHYU SANJOY0
              SLG― DⅣ IS
3:17¨ cr¨ 00027¨               Page 8 of17
        Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 8 of 17
III    ADVISORY UNITBD STATES SENTBNCING GUIDELINES, GUIDELINE
       APPLICATION AGREEMENTS, SENTENCING RECOMMENDATIONS

       A.     Advisory United States Sentencing Guidelines

       The Court must consult the advisory United States Sentencing Commission

Guidelines [U.S.S.G.] as well as the factors set forth in 18 U.S.C. g 3553(a) when

considering the sentence to impose. The U.S.S.G. do not establish the statutory

maximum or minimum sentence applicable to the offense(s) to which the defendant is

pleading guilty. The U.S.S.G. are not mandatory and the Court is not bound to impose a

sentence recommended by the U.S.S.G.

       B.     Guideline Application Agreements

       The parties have no agreements on any guideline applications unless set forth

below in this section.

              1.       Acceptance of responsibility

       If the United   States concludes that the defendant has satisfied the criteria set out in

U.S.S.G. $ 381.1 and the applicable application notes, the United States agrees to

recommend the defendant for a two level downward adjustment for acceptance           of

responsibility and, if U.S.S.G. $ 3E1.1(b) applies, to move for the additional one level

adjustment for acceptance of responsibility. If, at any time prior to imposition of the

sentence, the United States concludes that the defendant has failed to    fully satisfy the

criteria set out in U.S.S.G. $ 3E1.1, or has acted in a manner inconsistent with acceptance

of responsibility, the United States will not make or, if already made, will withdraw this

recommendation and motion.


U.S. v. WAHYU SANJOYO
3:17-cr-00027-SLG-DMS           Page 9 of 17
        Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 9 of 17
       C.      Sentencing Recommendations

       The United States Probation Office will prepare the defendant's pre-sentence

report in which it   will include a recommended calculation of the defendant's       sentence

range under the U.S.S.G. Both the United States and the defendant         will   have the

opportunity to argue in support of or in opposition to the guideline sentence range

calculation the U.S.P.O. recommends, as well as present evidence in support of their

respective sentencing arguments.

       The United States agrees to recommend a sentence within the U.S.S.G. range as

calculated by the U.S. Probation Office. Otherwise, the parties are free to recommend to

the Court their respective positions on the appropriate sentence to be imposed in this case

based on the stipulated facts set forth    in Section II C, any additional facts established at

the imposition of sentence hearing, the applicable statutory penalty sections, the advisory

U.S.S.G., and the sentencing factors set forth in 18 U.S.C. g 3553.

IV.    ADDITIONAL AGREEMENTS BY UNITED STATES

       In exchange for the defendant's guilty plea(s) and the Court's acceptance of the

defendant's plea(s) and the terms of this agreement, the United States agrees that it will

not prosecute the defendant further for any other offense      -   now known                     of
                                                                               - arising   out

the subject of the investigation related to the charges brought in the Indictment in this

case and the defendant's admissions set      forth in Section II C.

       Provided, however, if the defendant's guilty plea(s) or sentence is/are rejected,

withdrawn, vacated, reversed, set aside, or modified, at any time, in any proceeding, for

any reason, the United States   will   be free to prosecute the defendant on all charges arising
UoS.vo WAHYU SANJOYO
3:17‑cr‑00027‑SLG― DNIIS       Page 10 of 17
       Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 10 of 17
out of the investigation of this case including any charges dismissed pursuant to the terms

of this agreement, which charges will be automatically reinstated as well as for perjury

and false statements. The defendant hereby agrees that he/she waives any defense that

the statute of limitations bars the prosecution of such a reinstated charge. After the

Court accepts the plea agreement and after sentencing, the United States       will dismiss

remaining counts 2, 3, 4,5, and 7 as they relate to the defendant.

V.     WAIVER OF TRIAL RIGHTS, APPELLATE RIGHTS, COLLATERAL
       ATTACK RIGHTS, CLAIM FOR ATTORNEY FEES AND COSTS, AND
       RULE 410

      A.      Trial Rights

      Being aware of the following, the defendant waives these trial rights:

                 If pleading to an Information, the right to have the charges presented to

                 the grand jury prior to entering the guilty plea;

                 The right to a speedy and public trial by jury on the factual issues

                 establishing guilt or any fact affecting the mandatory minimum and

                 statutory penalties, and any issue affecting any interest in any assets

                 subject to forfeiture;

                 The right to object to the composition of the grand or trial jury;

                 The right to plead not guilty or to persist in that plea   if it has already

                 been made;




UoS.vo WAHYU SANJOY0
3:17‑cr‑00027‑SLG― D"IS        Page 11 of17
       Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 11 of 17
                    The right to be presumed innocent and not to suffer any criminal penalty

                    unless and until the defendant's guilt is established beyond a reasonable

                    doubt;

                    The right to be represented by counsel at trial and if necessary to have a

                    counsel appointed at public expense to represent the defendant at trial   -
                    the defendant is not waiving the right to have counsel continue to

                    represent the defendant during the sentencing phase ofthis case;

                    The right to confront and cross examine witnesses against the defendant,

                    and the right to subpoena witnesses to appear in the defendant's behalf;

                    The right to remain silent attrial, with such silence not to be used

                    against the defendant, and the right to testify in the defendant's own

                  behalf; and

                  The right to contest the validity of any searches conducted on the

                  defendant's property or person.

       B.     Appellate Rights

       The defendant waives the right to appeal the conviction(s) resulting from the entry

of guilty plea(s) to the charges set forth in this agreement. The defendant fuither agrees

that if the Court imposes a sentence that does not exceed the statutory maximum penalties

- as set forth in section II D above in this agreement, the defendant waives without
exception the right to appeal on all grounds contained in 18 U.S.C . 5 3742the sentence

the Court imposes   - including   forfeiture (if applicable) or terms or conditions of

probation (if applicable) or supervised release, any fines or restitution.
U.S.vo WAHYU SANJOY0
3:17‑cr‑00027‑SLG― DMS          Page 12 of 17
        Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 12 of 17
       By waiving these rights, the defendant understands that the conviction(s) and

sentence the Court imposes   will be final. No other court will conduct appellate review of

the conviction(s) or the sentence.

       The defendant agrees that the appellate and collateral attack waivers contained

within this agreement will apply to any U.S.C. $ 3582(c) modifications,     as   well   as the

district court's decision to deny any such modification.

       Should the defendant file a notice of appeal in violation in this agreement, it      will

constitute a material breach of the agreement. The govemment is free to reinstate any

dismissed charges, and withdraw any motions for downward departures, or sentences

below the mandatory minimum made pursuant to 18 U.S.C. g 3553(e).

       C.     Collateral Attack Rights

       The defendant agrees to waive all rights to collaterally attack the resulting

conviction(s) and/or sentence - including forfeiture (if applicable) or terms or conditions

of probation (if applicable) or supervised release, and any fines or restitution   -   the Court

imposes. The only exceptions to this collateral attack waiver are as follows: 1) any

challenge to the conviction or sentence alleging ineffective assistance of counsel      -   based

on information not now known to the defendant and which, in the exercise of reasonable

diligence, could not be known by the defendant at the time the Court imposes sentence;

and2) a challenge to the voluntariness of the defendant's guilty plea(s).

      D.      Claim for Attorney Fees and Costs

      Because this is a negotiated resolution of the case, the parties waive any claim for

the award of attorney fees and costs from the other party.

U.S. v. WAHYU SANJOYO
3:17-or-00027-SLG-DMS          Page l3 of 17
       Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 13 of 17
       E.     Evidence Rule 410 and Fed. R. Crim. P. 11(0

       By signing this agreement, the defendant admits the truth of the facts in the

Factual Basis portion of this agreement set forth in Section         II C. The defendant agrees

that the statements made by him in signing this agreement shall be deemed usable and

admissible against the defendant as stipulations in any hearing, trial or sentencing that

may follow, even if the defendant fails to enter a guilty plea pursuant to this agreement.

The foregoing provision acts as a modification, and express waiver, of Federal Rule             of

Evidence 410 and Federal Rule of Criminal Procedure 11(e)(6).

VL     ADEQUACY OFTHE AGREEMENT

       Pursuant to Local Criminal Rule 11.2 (d)(7) and (8), this plea agreement is

appropriate in that it conforms with the sentencing goals that would otherwise be

applicable to the defendant's case if the defendant had gone to trial and had been

convicted on all counts in the charging instrument.

VII.   THE DEFENDANT'S ACCEPTANCE OF THE TERMS OF THIS PLEA
       AGREEMENT

       I, WAHYU SANJOYO, the defendant, affirm this document contains all of the

agreements made between me      - with the assistance of my attorney -         and the United

States regarding my   plea(s). There are no other promises, assurances, or agreements the

United States has made or entered into with me that have affected my decision to enter

any plea of guilty or to enter into this agreement.      If there   are any additional promises,

assurances, or agreements,   I and the United   States   will jointly inform the Court in writing

before I enter my guilty plea(s).

U.S. v. WAHYU SANJOYO
3:17-cr-00027-SLG-DMS                  Page 14 of 17
       Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 14 of 17
          I understand that no one, including my attorney, can guarantee the outcome of my

case or what sentence the Court may impose          if I plead guilty. If anyone, including my

attorney, has done or said any.thing other than what is contained in this agreement, I          will

inform the Court when I stand before it to enter my plea. If there were, I would so inform

the Court.

          I enter into this agreement understanding and agreeing that the conditions        set forth

herein are obligatory and material to this agreement and that any failure on my part to

fulfill   these obligations   will constitute a material   breach of this agreement.   If I breach

this agreement, I agree the United States, in its sole discretion, may withdraw from this

agreement and may reinstate prosecution against me on any charges arising out of the

investigation in this matter.      If my compliance with the terms of this plea agreement

becomes an issue, at an appropriate hearing, during which I agree any of my disclosures

will be admissible, the Court will determine whether or not I have violated the terms of

this agreement. I understand the government's burden to prove a breach will be by a

preponderance of the evidence.

          I understand the Court will    ask me under an oath to answer questions about the

offense(s) to which I am pleading guilty and my understanding of this plea agreement. I

understand that I may be prosecuted        if I make false statements or give false answers     and

may suffer other consequences set forth in this agreement.

          I have read this plea agreement carefully and understand it thoroughly. I know of

no reason why the Court should find me incompetent to enter into this agreement or to

enter my plea(s). I enter into this agreement knowingly and voluntarily. I understand

U.S,v.WAHYU SANJOY0
3:17¨ cr‑00027‑SLG―   Dヽ lS       Page 15 of 17
          Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 15 of 17
that anything that I discuss with my attorney is privileged and confidential, and cannot be

revealed without my permission. Knowing this, I agree that this document       will be filed

with the Court.

       I am fully satisfied with the representation given me by my attorney and am

prepared to repeat this statement at the time   I stand before the Court and enter my guilty

plea(s). My attomey and I have discussed all possible defenses to the charges to which I

am pleading   guilty. My attorney has investigated my case and followed up on any

information and issues I have raised to my satisfaction. My attomey has taken the time to

fully explain the legal and factual issues involved in my case to my satisfaction. We have

discussed the statutes applicable to my offense and sentence as well as the possible effect

the U.S.S.G. may have on my sentence.

       Based on my complete understanding of this plea agreement, I therefore admit that

I am guilty of Counts, I and 6 of the Indictment and admit the criminal forfeiture

allegation.




DATED:lθ ‐lθ ttλ θl■ ・
                                                   WAHYU SANJOYO
                                                   Defendant




UoSovo WAHYU SANJOY0
3:17‑cr‑00027‑SLG― DⅣ IS       Page 16 of 17
       Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 16 of 17
        As counsel for the defendant, I have conveyed all formal plea offers, and I have
discussed the terms of this plea agreement   with the defendant, have fully explained the
charge(s) to which the defendant is pleading guilty and the necessary elements, all
possible defenses, and the consequences of a guilty plea to a felony. Based on these
discussions, I have no reason to doubt that the defendant is knowingly and voluntarily
entering into this agreement and entering a plea of guilty. I know of no reason to
question the defendant's competency to make these decisions. If, prior to the imposition
of sentence, I become aware of any reason to question the defendant's competency to
enter into this plea agreement or to enter a plea of guilty, I will immediately inform the
court.


oereo' Ig -\0 ' \J
                                                 NIIC        MOBERLY
                                                 Attorney                     JOY0


       On behalf of the United States, the following accept the defendant's offer to plead
guilty under the terms of this plea agreement.



DArED:       ld lze /=
                                                                    ER
                                                 United
                                                 Acting United States Attorney




U.S.vo WAHYU SANJOY0
3:17‑cr‑00027‑SLG― DレIS          Page 17 of 17
         Case 3:17-cr-00027-SLG Document 23 Filed 10/24/17 Page 17 of 17
